Case 2:20-cv-00963-MWF-AFM Document 73 Filed 10/27/20 Page 1 of 1 Page ID #:2927




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     4                        UNITED STATES DISTRICT COURT
     5                      CENTRAL DISTRICT OF CALIFORNIA
     6                                 WESTERN DIVISION
     7   LARRY TRAN, Individually and on
         behalf of all others similarly situated,       CASE NO. CV 20-963-MWF (AFMx)
     8
                                  Plaintiff,            ORDER RE STIPULATION FOR
     9                                                  JUDGMENT DISMISSING
                       v.                               AMENDED CLASS ACTION
   10                                                   COMPLAINT FOR VIOLATION
         BEYOND MEAT, INC., et al.,                     OF THE FEDERAL SECURITIES
   11                                                   LAWS
                                  Defendants.
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   15          Having considered the Parties’ stipulation, IT IS HEREBY ORDERED:
   16          This action is DISMISSED with prejudice, except for the class allegations
   17    of the absent putative class members, which are DISMISSED without prejudice.
   18    Each party shall bear his/her/its own costs and attorneys’ fees.
   19          IT IS SO ORDERED.
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   21    Dated: October 27, 2020                    _____________________________
   22                                               MICHAEL W. FITZGERALD
                                                    United States District Judge
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                                               ORDER
